'1 Case 8:18-cr-00517-I\/|SS-AEP Document 48 Filed 03/21/19 Page 1 of 25 P ge|D 175

AF Approval §§ Chief Appro((al :\

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA

v. CASE NO. 8: lS-cr-S l 7~T-35AEP
JAMES THOMAS LANG, lll

PLEA AGREEMENT

Pursuant to Fed. R. Crim. P. ll(c), the United States of America, by
Maria Chapa Lopez, United States Attorney for the Middle District of
Florida, and the defendant, J ames Thomas Lang, III, and the attorney for the

defendant, Charles M. Britt, lll, mutually agree as folloWs:

A. Particularized Terms

l. Count( s) Pleading To

The defendant shall enter a plea of guilty to Count One of the
indictment Count One charges the defendant With conspiracy to distribute
and possess With intent to distribute a controlled substance, Which Violation
involved lOO grams or more of a mixture and substance containing a

detectable amount of heroin and fentanyl, in Violation of 21 U.S.C. §§ 846 and

841(?>)(1)(]3)-

Defendant’s lnitials \>\,

` Case 8:18-cr-00517-I\/|SS-AEP Document 48 Filed 03/21/19 Page 2 of 25 Page|D 176

2. Minirnum and Maximum Penalties
Count One is punishable by a mandatory minimum term of ten
years imprisonment and a maximum of life imprisonment, a fine of
$8,000,0()0, a term of supervised release of at least eight years and a special
assessment of $100. The defendant is subject to these penalties pursuant to 2l
U.S.C. § 851.
3. Allevne v. United States and Apprendi v. Nevv Jersev
Under Alleyne v. Unz’ted States, 570 U.S. 99 (2013), the defendant
is subject to a mandatory minimum sentence of ten years of imprisonment as
to Count One, and under Apprendz' V. New Jersey, 530 U.S. 466 (2000), a
maximum sentence of life imprisonment may be imposed as to Count One,
because the defendant has admitted the following facts, and they are therefore
established by this plea of guilty: The defendant conspired to distribute and
possess With intent to distribute lOO grams or more of a mixture and substance
containing a detectable amount of heroin or 40 grams or more of a mixture
and substance containing a detectable amount of fentanyl.

4. Elements of the Offense(s)

 

The defendant acknowledges understanding the nature and
elements of the offense(s) With Which defendant has been charged and to

Which defendant is pleading guilty. The elements of Count One are:

Defendant’s lnitials 3 \ L~ 2

§ Case 8:18-cr-OO517-|\/|SS-AEP Document 48 Filed 03/21/19 Page 3 of 25 Page|D 177

First: Two or more people in some way agreed to try to
accomplish a shared and unlawful plan,

Second: The Defendant knew the unlawful purpose of the
plan and willfully joined in it, and

Third: The object of the unlawful plan was to distribute, or
possess with the intent to distribute, 100 grams or
more of a mixture and substance containing a
detectable amount of heroin or 40 grams or more of
a mixture and substance containing a detectable
amount of fentanyl.
5. Counts Dismissed
At the time of sentencing, the remaining count(s) against the
defendant, Counts Three, Four, Five, Six and Seven, will be dismissed
pursuant to Fed. R. Crim. P. ll(c)(l)(A).
6. No Further Charges
lf the Court accepts this plea agreement, the United States
Attorney's Oche for the l\/liddle District of Florida agrees not to charge
defendant with committing any other federal criminal offenses known to the
United States Attorney's Office at the time of the execution of this agreement
7. Guidelines Sentence
Pursuant to Fed. R. Crim. P. ll(c)(l)(B), the United States will
recommend to the Court that the defendant be sentenced within the

defendant’s applicable guidelines range as determined by the Court pursuant

to the United States Sentencing Guidelines, as adjusted by any departure the

Defendant’s lnitials A '\- 3

(- Case 8:18-cr-OO517-|\/|SS-AEP Document 48 Filed 03/21/19 Page 4 of 25 Page|D 178

United States has agreed to recommend in this plea agreement The parties
understand that such a recommendation is not binding on the Court and that,
if it is not accepted by this Court, neither the United States nor the defendant
will be allowed to withdraw from the plea agreement, and the defendant will
not be allowed to withdraw from the plea of guilty.

8. Accer)tance of Responsibilitv - Three Levels

At the time of sentencing, and in the event that no adverse
information is received suggesting such a recommendation to be unwarranted,
the United States will not oppose to the Court that the defendant receive a
two-level downward adjustment for acceptance of responsibility, pursuant to
USSG §3El . l(a). The defendant understands that this recommendation or
request is not binding on the Court, and if not accepted by the Court, the
defendant will not be allowed to withdraw from the plea.

Further, at the time of sentencing, if the defendants offense level
prior to operation of subsection (a) is level 16 or greater, and if the defendant
complies with the provisions of USSG §3El. l(b) and all terms of this Plea
Agreement, including but not limited to, the timely submission of the financial
affidavit referenced in Paragraph B.S., the United States agrees to file a motion
pursuant to USSG §3El . l(b) for a downward adjustment of one additional

level. The defendant understands that the determination as to whether the

~_/

Defendant’s lnitials 3 \-~ 4

\- Case 8:18-cr-OO517-|\/|SS-AEP Document 48 Filed 03/21/19 Page 5 of 25 Page|D 179

defendant has qualified for a downward adjustment of a third level for
acceptance of responsibility rests solely with the United States Attorney for the
Middle District of Florida, and the defendant agrees that the defendant cannot
and will not challenge that determination, whether by appeal, collateral attack,
or otherwise

9. Cooperation - Substantial Assistance to be Considered

Defendant agrees to cooperate fully with the United States in the

investigation and prosecution of other persons, and to testify, subject to a
prosecution for perjury or making a false statement, fully and truthfully before
any federal court proceeding or federal grand jury in connection with the
charges in this case and other matters, such cooperation to further include a
full and complete disclosure of all relevant information, including production
of any and all books, papers, documents, and other objects in defendant's
possession or control, and to be reasonably available for interviews which the
United States may require. lf the cooperation is completed prior to
sentencing, the government agrees to consider whether such cooperation
qualifies as "substantial assistance" in accordance with the policy of the United
States Attorney for the Middle District of Florida, warranting the filing of a
motion at the time of sentencing recommending (1) a downward departure

from the applicable guideline range pursuant to USSG §5K1.1, or (2) the

Defendant’s lnitials : d . L 5

Case 8:18-cr-OO517-|\/|SS-AEP Document 48 Filed 03/21/19 Page 6 of 25 Page|D 180

imposition of a sentence below a statutory minimum, if any, pursuant to 18
U.S.C. § 3553(e), or (3) both. lf the cooperation is completed subsequent to
sentencing, the government agrees to consider whether such cooperation
qualifies as "substantial assistance" in accordance with the policy of the United
States Attorney for the l\/liddle District of Florida, warranting the filing of a
motion for a reduction of sentence within one year of the imposition of
sentence pursuant to Fed. R. Crim. P. 35(b). ln any case, the defendant
understands that the determination as to whether "substantial assistance" has
been provided or what type of motion related thereto will be filed, if any, rests
solely with the United States Attorney for the Middle District of Florida, and
the defendant agrees that defendant cannot and will not challenge that
determination, whether by appeal, collateral attack, or otherwise.
10. Cooperation - Responsibilities of Parties

a. The government will make known to the Court and other
relevant authorities the nature and extent of defendant's cooperation and any
other mitigating circumstances indicative of the defendant's rehabilitative
intent by assuming the fundamental civic duty of reporting crime. However,
the defendant understands that the government can make no representation
that the Court will impose a lesser sentence solely on account of, or in

consideration of, such cooperation

Defendant’s lnitials 3 \-» - 6 _

j Case 8:18-cr-OO517-|\/|SS-AEP Document 48 Filed 03/21/19 Page 7 of 25 Page|D 181

b. lt is understood that should the defendant knowingly
provide incomplete or untruthful testimony, statements, or information
pursuant to this agreement, or should the defendant falsely implicate or
incriminate any person, or should the defendant fail to voluntarily and
unreservedly disclose and provide full, complete, truthful, and honest
knowledge, information, and cooperation regarding any of the matters noted
herein, the following conditions shall apply:

(1) The defendant may be prosecuted for any perjury or
false declarations, if any, committed while testifying pursuant to this
agreement, or for obstruction of justice.

(2) The United States may prosecute the defendant for
the charges which are to be dismissed pursuant to this agreement, if any, and
may either seek reinstatement of or refile such charges and prosecute the
defendant thereon in the event such charges have been dismissed pursuant to
this agreement With regard to such charges, if any, which have been
dismissed, the defendant, being fully aware of the nature of all such charges
now pending in the instant case, and being further aware of defendant's rights,
as to all felony charges pending in such cases (those offenses punishable by
imprisonment for a term of over one year), to not be held to answer to said

felony charges unless on a presentment or indictment of a grand jury, and

Defendant’s lnitials z § . L 7

\ Case 8:18-cr-OO517-|\/|SS-AEP Document 48 Filed 03/21/19 Page 8 of 25 Page|D 182

further being aware that all such felony charges in the instant case have
heretofore properly been returned by the indictment of a grand jury, does
hereby agree to reinstatement of such charges by recision of any order
dismissing them or, alternatively, does hereby waive, in open court,
prosecution by indictment and consents that the United States may proceed by
information instead of by indictment with regard to any felony charges which
may be dismissed in the instant case, pursuant to this plea agreement, and the
defendant further agrees to waive the statute of limitations and any speedy
trial claims on such charges

(3) The United States may prosecute the defendant for
any offenses set forth herein, if any, the prosecution of which in accordance
with this agreement, the United States agrees to forego, and the defendant
agrees to waive the statute of limitations and any speedy trial claims as to any
such offenses.

(4) The government may use against the defendant the
defendant's own admissions and statements and the information and books,
papers, documents, and objects that the defendant has furnished in the course
of the defendant's cooperation with the government

(5) The defendant will not be permitted to withdraw the

guilty pleas to those counts to which defendant hereby agrees to plead in the

D@f@ndanr’g initiais j ll_ s

n Case 8:18-cr-OO517-|\/|SS-AEP Document 48 Filed 03/21/19 Page 9 of 25 Page|D 183

instant case but, in that cvent, defendant will be entitled to the sentencing

- limitations, if any, set forth in this plea agreement, with regard to those counts
to which the defendant has pled; or in the alternative, at the option of the
United States, the United States may move the Court to declare this entire
plea agreement null and void.

ll. Use of Information - Section 1B1.8

 

Pursuant to USSG §1Bl .S(a), the United States agrees that no
self-incriminating information which the defendant may provide during the
course of defendant's cooperation and pursuant to this agreement shall be used
in determining the applicable sentencing guideline range, subject to the
restrictions and limitations set forth in USSG §1B1.8(b).

12. Forfeiture of Assets
The defendant agrees to forfeit to the United States immediately

/ and voluntarily any and all assets and property, or portions thereof, subject to
forfeiture, pursuant to 21 U.S.C. § 853, whether in the possession or control of
the United States, the defendant or defendant's nominees. The assets to be
forfeited specifically include, but are not limited to, the $19,350 in proceeds
the defendant admits he obtained, as the result of the commission of the
offense to which the defendant is pleading guilty. The defendant

acknowledges and agrees that: (1) the defendant obtained this amount as a

Defendant’s lnitials §.l : 9

`. Case 8:18-cr-OO517-|\/|SS-AEP Document 48 Filed 03/21/19 Page 10 of 25 Page|D 184

result of the commission of the offense, and (2) as a result of the acts and
omissions of the defendant the proceeds have been transferred to third parties
and cannot be located by the United States upon the exercise of due diligence
Therefore, the defendant agrees that, pursuant to 21 U.S.C. § 853(p), the
United States is entitled to forfeit any other property of the defendant
(substitute assets), up to the amount of proceeds the defendant obtained, as the
result of the offense(s) of conviction The defendant further consents to, and
agrees not to oppose, any motion for substitute assets filed by the United
States up to the amount of proceeds obtained from commission of the
offense(s). The defendant agrees that forfeiture of substitute assets as
authorized herein shall not be deemed an alteration of the defendant's
sentence

T he defendant also agrees to waive all constitutional, statutory,
and procedural challenges (including direct appeal, habeas corpus, or any
other means) to any forfeiture carried out in accordance with this Plea
Agreement on any grounds, including that the forfeiture described herein
constitutes an excessive fme, was not properly noticed in the charging
instrument addressed by the Court at the time of the guilty plea, announced at

sentencing, or incorporated into the judgment

Defendant’s lnitials >L` 10

\~ Case 8:18-cr-OO517-|\/|SS-AEP Document 48 Filed 03/21/19 Page 11 of 25 Page|D 185

The defendant admits and agrees that the conduct described in
the Factual Basis below provides a sufficient factual and statutory basis for the
forfeiture of the property sought by the government Pursuant to Rule
32.2(b)(4), the defendant agrees that the preliminary order of forfeiture will
satisfy the notice requirement and will be final as to the defendant at the time
it is entered. ln the event the forfeiture is omitted from the judgment the
defendant agrees that the forfeiture order may be incorporated into the written
judgment at any time pursuant to Rule 36.

j The defendant agrees to take all steps necessary to identify and
locate all substitute assets and to transfer custody of such assets to the United
States before the defendant’s sentencing To that end, the defendant agrees to
make a full and complete disclosure of all assets over which defendant
exercises control, including all assets held by nominees, to execute any
documents requested by the United States to obtain from any other parties by
lawful means any records of assets owned by the defendant, and to consent to
the release of the defendant’s tax returns for the previous five years. The
defendant agrees to be interviewed by the government, prior to and after
sentencing, regarding such assets. T he defendant further agrees to be
polygraphed on the issue of assets, if it is deemed necessary by the United

States. The defendant agrees that Federal Rule of Criminal Procedure 11 and

Defendant’s lnitials \> . L» ll

g Case 8:18-cr-OO517-|\/|SS-AEP Document 48 Filed 03/21/19 Page 12 of 25 Page|D 186

USSG § 1B1.8 will not protect from forfeiture assets disclosed by the
defendant as part of the defendant’s cooperation

The defendant agrees to take all steps necessary to assist the
government in obtaining clear title to any substitute assets before the
defendant’s sentencing ln addition to providing full and complete
information about substitute assets, these steps include, but are not limited to,
the surrender of title, the signing of a consent decree of forfeiture, and signing
of any other documents necessary to effectuate such transfers

Forfeiture of the defendant's assets shall not be treated as
satisfaction of any fine, restitution, cost of imprisonment or any other penalty
the Court may impose upon the defendant in addition to forfeiture

The defendant agrees that in the event the Court determines that
the defendant has breached this section of the Plea Agreement the defendant
may be found ineligible for a reduction in the Guidelines calculation for
acceptance of responsibility and substantial assistance, and may be eligible for
an obstruction of justice enhancement

The defendant agrees that the forfeiture provisions of this plea

agreement are intended to, and will, survive the defendant notwithstanding
the abatement of any underlying criminal conviction after the execution of this

agreement The forfeitability of any particular property pursuant to this

Defendant’s lnitials _> ‘Ls 12

j Case 8:18-cr-OO517-|\/|SS-AEP Document 48 Filed 03/21/19 Page 13 of 25 Page|D 187

agreement shall be determined as if the defendant had survived, and that
determination shall be binding upon defendant’s heirs, successors and assigns
until the agreed forfeiture, including the forfeiture of any substitute assets, is
fmal.

B. Standard Terms and Conditions

1. Restitution. Special Assessment and Fine

 

The defendant understands and agrees that the Court in addition
to or in lieu of any other penalty, M order the defendant to make restitution
to any victim of the offense(s), pursuant to 18 U.S.C. § 3663A, for all offenses
described in 18 U.S.C. § 3663A(c)(1); and the Court may order the defendant
to make restitution to any victim of the offense(s), pursuant to 18 U.S.C. §
3663, including restitution as to all counts charged, whether or not the
defendant enters a plea of guilty to such counts, and whether or not such
counts are dismissed pursuant to this agreement The defendant further
understands that compliance with any restitution payment plan imposed by
the Court in no way precludes the United States from simultaneously pursuing
other statutory remedies for collecting restitution (28 U.S.C. § 3003(b)(2)),
including, but not limited to, garnishment and execution, pursuant to the
l\/landatory Victims Restitution Act, in order to ensure that the defendants

restitution obligation is satisfied.

Defendant’s lnitials _§\L» 13

. Case 8:18-cr-OO517-|\/|SS-AEP Document 48 Filed 03/21/19 Page 14 of 25 Page|D 188

On each count to which a plea of guilty is entered, the Court
shall impose a special assessment pursuant to 18 U.S.C. § 3013. The
defendant understands that this agreement imposes no limitation as to fme.

2. Supervised Release

The defendant understands that the offense(s) to which the
defendant is pleading provide(s) for imposition of a term of supervised release
upon release from imprisonment and that if the defendant should violate the
conditions of release, the defendant would be subject to a further term of
imprisonment

3. lmmigration Conseguences of Pleading Guilty

The defendant has been advised and understands that upon
conviction, a defendant who is not a United States citizen may be removed
from the United States, denied citizenship, and denied admission to the
United States in the future

4. Sentencing Information

 

The United States reserves its right and obligation to report to the
Court and the United States Probation Office all information concerning the
background, character, and conduct of the defendant to provide relevant
factual information, including the totality of the defendant's criminal activities,

if any, not limited to the count(s) to which defendant pleads, to respond to

Defendant’s lnitials § .`l_» 14

. Case 8:18-cr-OO517-|\/|SS-AEP Document 48 Filed 03/21/19 Page 15 of 25 Page|D 189

comments made by the defendant or defendant's counsel, and to correct any
misstatements or inaccuracies T he United States further reserves its right to
make any recommendations it deems appropriate regarding the disposition of
this case, subject to any limitations set forth herein, if any.
5. Financial Disclosures

Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P.
32(d)(2)(A)(ii), the defendant agrees to complete and submit to the United
States Attorney's Office within 30 days of execution of this agreement an
affidavit reflecting the defendant's financial condition T he defendant
promises that his financial statement and disclosures will be complete,
accurate and truthful and will include all assets in which he has any interest or
over which the defendant exercises control, directly or indirectly, including
those held by a spouse, dependent nominee or other third party. T he
defendant further agrees to execute any documents requested by the United
States needed to obtain from any third parties any records of assets owned by
the defendant directly or through a nominee, and, by the execution of this
Plea Agreement, consents to the release of the defendant's tax returns for the
previous five years The defendant similarly agrees and authorizes the United
States Attorney's Office to provide to, and obtain from, the United States

Probation Office, the financial affidavit any of the defendant's federal, state,

Defendant’s lnitials § §.l, 15

~ Case 8:18-cr-OO517-|\/|SS-AEP Document 48 Filed 03/21/19 Page 16 of 25 Page|D 190

and local tax returns, bank records and any other financial information
concerning the defendant for the purpose of making any recommendations to
the Court and for collecting any assessments, fines, restitution, or forfeiture
ordered by the Court The defendant expressly authorizes the United States
Attorney‘s foice to obtain current credit reports in order to evaluate the
defendant's ability to satisfy any financial obligation imposed by the Court
6. Sentencing Recommendations

lt is understood by the parties that the Court is neither a party to
nor bound by this agreement T he Court may accept or reject the agreement
or defer a decision until it has had an opportunity to consider the presentence
report prepared by the United States Probation Office The defendant
understands and acknowledges that although the parties are permitted to
make recommendations and present arguments to the Court the sentence will
be determined solely by the Court with the assistance of the United States
Probation Office. Defendant further understands and acknowledges that any
discussions between defendant or defendant's attorney and the attorney or
other agents for the government regarding any recommendations by the
government are not binding on the Court and that should any
recommendations be rejected, defendant will not be permitted to withdraw

defendant's plea pursuant to this plea agreement The government expressly

Defendant’s lnitials §.L g 16

t Case 8:18-cr-OO517-|\/|SS-AEP Document 48 Filed 03/21/19 Page 17 of 25 Page|D 191

reserves the right to support and defend any decision that the Court may make
with regard to the defendant's sentence, whether or not such decision is
consistent with the governments recommendations contained herein
7. Defendant's Waiver of Right to ADDeal the Sentence

The defendant agrees that this Court has jurisdiction and
authority to impose any sentence up to the statutory maximum and expressly
waives the right to appeal defendants sentence on any ground, including the
ground that the Court erred in determining the applicable guidelines range
pursuant to the United States Sentencing Guidelines, except (a) the ground
that the sentence exceeds the defendant's applicable guidelines range §
determined by the Court pursuant to the United States Sentencing Guidelines;
(b) the ground that the sentence exceeds the statutory maximum penalty; or (c)
the ground that the sentence violates the Eighth Amendment to the
Constitution; provided, however, that if`_the government exercises its right to
appeal the sentence imposed, as authorized by 18 U.S.C. § 3742(b), then the
defendant is released from his waiver and may appeal the sentence as
authorized by 18 U.S.C. § 3742(a).

8. Middle District of Florida Agreement
lt is further understood that this agreement is limited to the

Office of the United States Attorney for the l\/liddle District of Florida and

Defendant’s lnitials brb 17

Case 8:18-cr-OO517-|\/|SS-AEP Document 48 Filed 03/21/19 Page 18 of 25 Page|D 192

cannot bind other federal, state, or local prosecuting authorities, although this
office will bring defendant's cooperation if any, to the attention of other
prosecuting officers or others, if requested.
9. Filing of Agreement

This agreement shall be presented to the Court in open court or
in camera, in whole or in part upon a showing of good cause, and filed in this
cause, at the time of defendant's entry of a plea of guilty pursuant hereto.

10. Voluntariness

The defendant acknowledges that defendant is entering into this
agreement and is pleading guilty freely and voluntarily without reliance upon
any discussions between the attorney for the government and the defendant
and defendant's attorney and without promise of benefit of any kind (other
than the concessions contained herein), and without threats, force,
intimidation or coercion of any kind. The defendant further acknowledges
defendant's understanding of the nature of the offense or offenses to which
defendant is pleading guilty and the elements thereof, including the penalties
provided by law, and defendant's complete satisfaction with the representation
and advice received from defendant's undersigned counsel (if any). The
defendant also understands that defendant has the right to plead not guilty or

to persist in that plea if it has already been made, and that defendant has the

Defendant’s lnitials 3 18

y Case 8:18-cr-OO517-|\/|SS-AEP Document 48 Filed 03/21/19 Page 19 of 25 Page|D 193

right to be tried by a jury with the assistance of counsel, the right to confront
and cross-examine the witnesses against defendant the right against
compulsory self-incrimination and the right to compulsory process for the
attendance of witnesses to testify in defendant's defense; but by pleading
guilty, defendant waives or gives up those rights and there will be no trial.
The defendant further understands that if defendant pleads guilty, the Court
may ask defendant questions about the offense or offenses to which defendant
pleaded, and if defendant answers those questions under oath, on the record,
and in the presence of counsel (if any), defendant's answers may later be used
against defendant in a prosecution for perjury or false statement The
defendant also understands that defendant will be adjudicated guilty of the
offenses to which defendant has pleaded and, if any of such offenses are
felonies, may thereby be deprived of certain rights, such as the right to vote, to
hold public office, to serve on a jury, or to have possession of firearms
11. Factual Basis

Defendant is pleading guilty because defendant is in fact guilty.
The defendant certifies that defendant does hereby admit that the facts set
forth below are true, and were this case to go to trial, the United States would

be able to prove those specific facts and others beyond a reasonable doubt

Defendant’s lnitials )L_ 19

l Case 8:18-cr-OO517-|\/|SS-AEP Document 48 Filed 03/21/19 Page 20 of 25 Page|D 194

M

Beginning on an unknown date, but not later than on or about
January 23, 2018, and continuing through the date of the indictment in the
l\/liddle District of Florida, J ames Thomas Lang 111 did knowingly, willfully,
and intentionally conspire with other persons to distribute and possess with
intent to distribute 100 grams or more of a mixture and substance containing
heroin and fentanyl.

On January 10, 2018, a confidential informant (“CI”) working
with the Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”),
provided information regarding a heroin dealer known as “AJ,” later
identified as the co-defendant Arnold Gerard Nelson Jr. Under ATF
supervision¢CI communicated with Nelson to arrange for purchases of heroin

On April 5, 2018, Nelson and C1 agreed to meet at a residence in
New Port Richey for Nelson to sell two ounces of heroin to Cl and an
undercover ATF agent (UC). Later that day, CI, UC, Nelson and the
defendant 1 ames Thomas Lang 111, met at the residence Nelson UC and
Lang sat at the kitchen table, and Nelson handed Cl a brown paper bag. lnside
the paper bag was a plastic bag containing a powdery substance Subsequent
laboratory analysis determined that the substance contained fentanyl and

heroin and the net weight of the substance was 55.91 grams C1 handed the

Defendant’s lnitials § `\-_ b 20

» Case 8:18-cr-OO517-|\/|SS-AEP Document 48 Filed 03/21/19 Page 21 of 25 Page|D 195

paper bag to UC, and UC paid Nelson $5,600 in OAF. The transaction was
audio and video recorded.

On April 19, 2018, Cl arranged to purchase two ounces of heroin
from Nelson Nelson Lang and another associate met UC and C1 at the same
location in New Port Richey. Nelson sat at the kitchen table inside the
residence and removed a paper bag from his pocket From inside the paper
bag, Nelson removed a plastic bag and placed it on a scale The plastic bag
contained a powdery substance Subsequent laboratory analysis determined
that the substance contained fentanyl and heroin and the net weight of the
substance was 56.9 grams UC paid Nelson $5,600 in OAF and took the
plastic bag containing the fentanyl and heroin Nelson and Lang discussed
possible future narcotics transactions with UC and C1, and offered to sell them
ecstasy (l\/lDl\/IA) tablets for $3.50 each. The transaction was audio and video
recorded.

On l\/lay 10, 2018, Cl arranged to purchase two ounces of heroin
from Nelson Nelson also agreed to sell ecstasy tablets to Cl and UC. Nelson
and Lang met Cl and UC at the same residence in New Port Richey as the
previous transactions Nelson handed UC a plastic bag containing 96
suspected ecstasy tablets, and another plastic bag containing a powdery

substance Subsequent laboratory analysis determined that the powdery

Defendant’s lnitials )‘L- 21

» Case 8:18-cr-OO517-|\/|SS-AEP Document 48 Filed 03/21/19 Page 22 of 25 Page|D 196

substance contained heroin with a net weight of 5 7.29 grams, and the
suspected ecstasy tablets contained methamphetamine, with a net weight of
23.08 grams UC paid Nelson $5,600 in OAF for the heroin and $350 in GAF
for the tablets The transaction was audio and video recorded.

On June 14, 2018, Cl arranged to purchase two ounces of heroin
from Nelson They agreed to meet at a restaurant in Tampa. Nelson and Lang
arrived, entered the restaurant and sat at a table with Cl and UC.
Approximately 30 minutes later, they all exited the restaurant and entered the
UC vehicle UC sat in the driver’s seat and Nelson sat in the front passenger
seat Nelson provided UC two baggies containing a powdery substance
Nelson said that one baggie was “short” so there was a second baggie
Subsequent laboratory analysis determined that the substance in one baggie
contained heroin with a net weight of 54.6 grams, and the substance in the
second baggie contained heroin with a net Weight of 4.5 grams UC paid
Nelson $5,600 in OAF, and they discussed future ecstasy tablet purchases
Nelson said he could get them and deliver the ecstasy to UC and Cl.

After the transaction on June 14, 2018, 1 ames Lang continued to
communicate with UC and C1 about possible narcotics and firearms sales On
July 12, 2018, C1 arranged for UC to purchase two ounces of heroin and

ecstasy tablets from Lang at the same residence in New Port Richey used for

Defendant’s lnitials l .. L_- 22

~. Case 8:18-cr-OO517-|\/|SS-AEP Document 48 Filed 03/21/19 Page 23 of 25 Page|D 197

previous transactions Lang met UC at the residence later that day. Lang
handed UC a plastic bag containing a powdery substance, and a bag
containing 198 suspected ecstasy tablets Subsequent laboratory analysis
determined that the powdery substance contained heroin with a net weight of
5 5.3 grams, and the suspected ecstasy tablets contained methamphetamine
with a net weight of 51 .9 grams UC paid Lang $6,300 in OAF. UC and Lang
discussed Lang selling UC firearms in the future The transaction was audio
and video recorded.

On October 11, 2018, Lang met with UC at Lang’s apartment in
Tampa. During this meeting, Lang possessed a semi-automatic firearm. UC
offered to buy the firearm, but Lang said it was his personal firearm and he
liked it for protection 1-1e said that if he were to sell the firearm in the future,
he would sell it to UC. Lang handed UC a blue container. lnside the container
were plastic bags with suspected heroin and suspected ecstasy tablets UC paid
Lang $6300 in OAF_$5600 for the suspected heroin and $700 for the
suspected ecstasy tablets

On October 17, 2018, UC and Lang met at Lang’s residence for
UC to purchase firearms from tang During the firearm transaction Lang and
UC discussed a future heroin transaction The meeting was audio and video

recorded.

Defendant’s lnitials 5 'L- 23

Case 8:18-cr-OO517-|\/|SS-AEP Document 48 Filed 03/21/19 Page 24 of 25 Page|D 198

On November 1, 2018, Lang and UC met at Lang’s residence in
Tampa, and Lang sold UC suspected heroin and suspected ecstasy tablets for
$6,400. Lang and UC then discussed a future heroin transaction The meeting
was audio and video recorded.

On November 14, 2018, a Federal search warrant was executed
at Lang’s apartment in Tampa. lnside the defendants apartment agents
recovered a plastic baggie containing suspected heroin approximately 200
suspected ecstasy tablets, three bags of suspected marijuana, and seven cell j
phones Agents also recovered drug paraphernalia, including a pill press and
two pill grinders.

During the course of the conspiracy, the Defendant admits that
he personally received $19,350 from the distribution of controlled substances

The above is merely a brief summary of the events, some of the
persons involved, and other information relating to this case 1t does not
include, nor is it intended to include, all of the events, persons involved, or
other information relating to this case

12. Entire Agreement
T his plea agreement constitutes the entire agreement between the

government and the defendant with respect to the aforementioned guilty plea

Defendant’s lnitials -\ ~L~ 24

Case 8:18-cr-OO517-|\/|SS-AEP Document 48 Filed 03/21/19 Page 25 of 25 Page|D 199

and no other promises, agreements or representations exist or have been
made to the defendant or defendant's attorney with regard to such guilty plea.
13. Certification
The defendant and defendant's counsel certify that this plea
agreement has been read in its entirety by (or has been read to) the defendant
and that defendant fully understands its terms
DATED this il day of %{61/\(/ , 2019.

MARlA CHAPA LOPEZ
United States

  
 

JAMEs THoivf’/$,s LANG, iii MdeAEL c. siNAcoRE

 
 

 

 

Defendant Assistant United States Attorney
(` c ,

cHARI§s M_\BRITT, iii cHRisroPHER F. MURKAY

Attorney for Defendant Assistant United States Attorney

Chief, Violent Crimes and
Narcotics Section

25

